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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    May 24, 2021

Via Email
Michael E. Lawlor
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Counsel for Zachary Jordan Alam

      Re:       United States v. Zachary Jordan Alam
                Case No. 1:21-cr-00190-DLF

Dear Counsel:

      Enclosed as additional discovery in this case, via filesharing, are the following materials:
         1. HIGHLY SENSITIVE: U.S. Capitol Police surveillance footage (x8 files)
         2. HIGHLY SENSITIVE: Superintendent of Capitol cost repair estimate for
             Speaker’s Lobby doors
         3. 302 with witness - serial 6 (redacted)
         4. 302 with witness - serial 7 (redacted)
         5. 302 regarding telephone communication with witness – serial 8 (redacted)
         6. E-Tip from witness (redacted)
         7. SENSITIVE: 302 with employer/acquaintance of defendant
         8. SENSITIVE: 302 with employee at autoshop
         9. SENSITIVE: 302 with second employee at autoshop
         10. Apple subpoena returns
         11. Facebook subpoena returns
         12. Google subpoena return
         13. Search warrant materials (6 documents and 68 photos)
         14. Transcript of EDPA detention hearing
         15. MPD license plate report redacted
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       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        These materials are subject to the Protective Order entered in this case. Please adhere to
sensitivity markings.

        I will forward additional discovery as it becomes available. Due to the extraordinary
nature of the January 6, 2021 Capitol Attack, the government anticipates that a large volume of
materials may contain information relevant to this prosecution. These materials may include, but
are not limited to, surveillance video, statements of similarly situated defendants, forensic
searches of electronic devices and social media accounts of similarly situated defendants, and
citizen tips. The government is working to develop a system that will facilitate access to these
materials. In the meantime, please let me know if there are any categories of information that
you believe are particularly relevant to your client.

       If you have any questions, please feel free to contact me.

                                                     Sincerely,



                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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